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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                               MACON DIVISION

JANE DOE,

       Plaintiff,

v.                                             Civil Action No. ________________

WESLEYAN COLLEGE,

       Defendant.


                          COMPLAINT FOR DAMAGES

       COMES NOW Plaintiff Jane Doe and shows the Court the following for her

Complaint for Damages against Defendant Wesleyan College (“Wesleyan”).

                                     The Parties

                                          1.

       Jane Doe is a pseudonym for the real party in interest in this action. Plaintiff

is entitled to use this pseudonym to prosecute this action because the matters

involved in this action are of a highly sensitive, confidential, and personal nature

and the right of Jane Doe to privacy with respect to those matters far outweigh any

other interest that may exist.

                                          2.

       Jane Doe is a citizen of the State of Georgia and the United States.



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                                          3.

       Jane Doe is a white female. At the time of events at issue in this action, she

was nursing student at Wesleyan. Jane Doe began her studies at Wesleyan in

January 2019 and completed them in December 2020.

                                          4.

       Wesleyan is a private, liberal arts women’s college in Macon, Georgia. It

was founded in 1836.

                                          5.

       Wesleyan is a Georgia nonprofit corporation that maintains its registered

office and is deemed to reside in Bibb County, Georgia.

                                    Jurisdiction

                                          6.

       This Honorable Court has original jurisdiction because this is a civil action

arising under the laws of the United States. 28 U.S.C. § 1331; 42 U.S.C. § 1981.

                                          7.

       As this is a civil action of which this Honorable Court has original

jurisdiction, it also has supplemental jurisdiction over all claims that are not within

its original jurisdiction as those claims are so related to the claims in the action

which are in such original jurisdiction that they form part of the same case or

controversy under Article III of the United States Constitution. 28 U.S.C. § 1367.


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                                      Venue

                                         8.

      Venue is proper in the Middle District of Georgia because Wesleyan is

deemed to reside in the Middle District of Georgia and is deemed to be a resident

of Georgia, the State in which Middle District of Georgia is located.

                                         9.

      Venue is also proper in the Middle District of Georgia because a substantial

part of the events or omissions giving rise to the claims in this action occurred in

the Middle District of Georgia.

                                       Facts

                The Racial Makeup of Wesleyan’s Student Body

                                        10.

      When Wesleyan was founded, its student body was entirely white.

                                        11.

      Wesleyan did not admit a black student until 1965 and no black student

graduated from Wesleyan until 1972.

                                        12.

      As of the Fall of 2018, most of Wesleyan’s students were members of racial

or ethnic minority groups according to the National Center for Education Statistics.

Blacks comprise the largest minority group, 31.7% of the student body.


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                           Wesleyan’s History of Racism

                                        13.

         Wesleyan’s history includes decades of overt racism. Wesleyan’s founding

president was a slaveholder and defender of the pro-slavery Methodist movement

in the South. In the 1840 census, the college household listed the resident faculty,

their families, more than one hundred students, and four enslaved black people.

Wesleyan’s records indicate that during the antebellum period the administration

engaged in the practice of “hiring out” enslaved people owned by other people to

work at Wesleyan.

                                        14.

         After emancipation and throughout Reconstruction and the Jim Crow era,

Wesleyan continued using blacks to keep Wesleyan running. Yearbook photos,

wage ledgers, and student scrapbooks provide glimpses of blacks, often referred to

as “domestic staff” and “black servants” who kept the facilities clean, prepared

students’ food, did the laundry, and served as porters, gardeners, and maintenance

staff.

                                        15.

         Wesleyan had links to the Ku Klux Klan for decades. Its class names in

1909, 1913, and 1917 were the Ku Klux Klan. Wesleyan’s 1913 yearbook is

named the “Ku Klux.” A sketch of a masked rider on a horseback is on the title


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page. The 1910 yearbook contains a sketch of a female figure in a white hood and

robe holding a burning cross.

                                         16.

      For years, Wesleyan identified with the Klan through class names and used

extreme hazing rituals and traditions that carried forward into the late 20th century,

often involving racist symbolism such as nooses, hooded costumes, blackface, and

figures hung in effigy.

                                         17.

      The Klan name in the early 1920s was replaced with the Tri-Ks, which later

morphed into the Tri-K Pirates — a name that carried forward every four years

through the early 1990s when the class name was changed to the Red Pirates.

Other class names created after the Klan moniker included the Green Knights, the

Purple Knights, and the Golden Hearts. For nearly a century, each new incoming

class adopted one of the four names on a rotating basis.

                                         18.

      Wesleyan did not abolish its use of the Red Pirates, the Green Knights, the

Purple Knights, and the Golden Hearts as class names until August 2018. This was

shortly after classes at Wesleyan were canceled after racist graffiti appeared on

dorm walls. Someone wrote the “N-word” in black marker and targeted an

international student with offensive language.       That incident led to calls for


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change. After the incident, black students and other minorities called for a more

active voice on campus.

              Wesleyan Apologizes and Promises to Make Amends

                                         19.

      Acknowledging its “sin of slavery,” in June 2017, Wesleyan apologized for

its racist history. Its apology included the following:

      Our history includes parts that are deeply troubling, and we are not
      proud of them … Wesleyan’s people were products of a society
      steeped in racism, classism, and sexism. They did appalling things –
      like students treating some African Americans who worked on
      campus like mascots, or deciding to name one of their classes after the
      hate-espousing Ku Klux Klan, or developing rituals for initiating new
      students that today remind us of the Klan’s terrorism.

                                         20.

      Shortly after Wesleyan apologized for its racist history, Wesleyan’s

President, Dr. Vivia L. Fowler (“Dr. Fowler”) made the following statement: “We

are working to learn about and understand our history and to make amends.”

                             A Time of Racial Unrest

                                         21.

      On May 25, 2020, George Floyd, a black man, died during an arrest in

Minneapolis, Minnesota, after Derek Chauvin, a white Minneapolis Police

Department officer, knelt on Mr. Floyd’s neck for over eight minutes as three other

officers looked on.


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                                          22.

        Mr. Floyd’s death set off a period of racial unrest like this country had never

seen.     Protests and demonstrations promoting “Black Lives Matter” and

denouncing “white privilege” took place across the country. In many cases, the

protests and demonstrations escalated into riots, looting, and street skirmishes with

police. At least 200 cities in the U.S. had imposed curfews by June 3, 2020 while

at least 30 states and the District of Columbia activated National Guard troops due

the mass unrest.

                                          23.

        In response to the widespread racial unrest that besieged our country, Dr.

Fowler posted the following message on Wesleyan’s Facebook page on June 1,

2020:

              As president of Wesleyan College, I write to express my
        sadness and anger at repeated cases of racial injustice in our country,
        including the recent deaths of George Floyd and Ahmaud Arbery.
        Along with the Wesleyan administration, I call for Wesleyan
        College’s continued commitment to battling the scourge of racism in
        our academic community, in our local community, and in the global
        community. As we prepare to reunite as a campus, we must remind
        ourselves that one of our four guiding principles is inclusion. We
        believe all voices are important, and we gain strength from and
        celebrate the many ways we can learn from one another. Another
        guiding principle is connection. We believe we gain strength from our
        connections to each other. Members of our campus community
        throughout the world have suffered from the evils of racism. Those of
        us who have not directly experienced racism must listen with open
        hearts and minds. Our work of racial healing continues, and it is a
        shared responsibility.
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                       The Incident Involving Jane Doe

                                  June 3, 2020

                                       24.

      On June 3, 2020, J.A. tweeted the following:

      While we at it:
      [Jane Doe] goofy ass racist af but out here trying to be a nurse…. she
      made jokes about illegal immigrants and blocked those who called her
      out.

                                       25.

      Replying to J.A.’s tweet, B.S. tweeted an image depicting Jane Doe with the

words “Bear down on these [N-word]s” printed on it (the “Bear Down Image” ).

                                       26.

      The Bear Down Image was created in 2013. B.S. tweeted it as early as

November 26, 2013.

                                       27.

      While Jane Doe is depicted in the Bear Down Image, she did not create it

and she was not involved in its creation. Nor did Jane Doe cause any of the words

that are printed on the Bear Down Image (including, but not limited to, the “N-

word”) to be printed on it. Additionally, Jane Doe never posted or otherwise

transmitted the Bear Down Image (with or without any words printed on it) on any

social media. Jane Doe did not even know that the Bear Down Image existed until


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June 3, 2020 when one of her friends told her that it was being displayed on social

media.

                                       28.

      Upon receipt of the Bear Down Image from B.S., J.A. tweeted, “Oh b[***]h.

I’m about to write an email.”

                                       29.

      B.I.P. replied to J.A.’s tweet by tweeting, “Maybe we can block that degree

before she even gets out there sweetie!! Where does she study?”

                                       30.

      In response to B.I.P.’s tweet, J.A. tweeted Jane Doe’s Facebook profile

which showed that Jane Doe is a student at Wesleyan.

                                       31.

      J.B. then tweeted, “If anyone has anymore screenshots feel free to send them

my way! Me and a few friends are typing an email as we speak[.]”

                 The Images and Information about Jane Doe
                  Are Delivered to Wesleyan and Go Viral

                                       32.

      On June 3, 2020 or June 4, 2020, the Bear Down Image, an image depicting

Jane Doe wearing a Border Patrol shirt (the “First Border Patrol Image”) and

information showing that Jane Doe was the female depicted in the images were

delivered to Wesleyan.
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                                       33.

      The Bear Down Image, the First Border Patrol Image, and information that

identified Jane Doe as the female depicted in the images were also delivered to

countless others by social media on June 3, 2020 and June 4, 2020. The images

and the information went viral.

                                  June 4, 2020

                                       34.

      On June 4, 2020, Wesleyan was bombarded with negative, racist comments

about Jane Doe and demands that action be taken against Jane Doe because of her

race. For example, Wesleyan received the following comments from L.L. in a

social media exchange Wesleyan had with her.

      L.L.:        What else is worse than a white officer in power with a
                   badge and the authority to use deadly force? A white
                   doctor or nurse who have the ability to show lack of
                   empathy, skill and f[***]s given to let go of the lives of
                   black people. Everyday, black people are neglected in
                   the healthcare system for acts of racism and
                   discrimination without probable cause. I’ve recently
                   discovered a young Wesleyan student well on her way to
                   become just that. I’ve commented on their official page
                   and my next step is whatever it takes. I’m being extreme
                   because I’m SICK of this s[**]t. Hello, [Jane Doe]. *in
                   my I Know what you Did Last Summer voice.*1



1
  L.L. is a black female. The Bear Down Image, the First Border Patrol Image, and
information identifying Jane Doe as the female depicted in the images
accompanied this comment.
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      Wesleyan: Thank you for bringing your concerns to our attention.
                We will be reach out to you privately to learn more about
                the situation.

      L.L:        Her name is [Jane Doe]. Since my life doesn’t matter to
                  her, hers doesn’t matter to me. I’m moving to extreme
                  measures to expose her. Thank you for your time.

      L.L.:       Well, I don’t know her personally so that won’t be
                  necessary unless you’re sending a thank you and we’ve
                  exonerated (sic) her from the program. The same
                  program that my friend is currently in and will be
                  graduating the same day as [Jane Doe] the bigot. I look
                  forward to your follow up that she won’t be a licensed
                  professional in this state. Thank you again.

                                      35.

      The comments Wesleyan received about Jane Doe also included the

following:

      • RACIST ALERT

         This is [Jane Doe], a nursing student at @WeslyanCollege. She
         does NOT need to be in the health profession working with
         minority communities with this type of attitude and rhetoric. She
         needs to be REMOVED from this nursing program immediately!2

      • [S]he needs to be kicked out of school because she is dangerous[.]
        [O]ne day she will be taking care of black people and she has hate
        in her heart towards blacks.

      • WOWWWWWWW. Y’all getting exposed now, [I] love it.
        EVERYONE MEET [JANE DOE], a racist soon to be a nurse
        from Wesleyan College – First for Women. Wouldn’t trust her for
        one moment with my life! And the college asked their students to

2
  This comment was made by a black female. The Bear Down Image accompanied
this comment.
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         refrain from racists/hate posts. Why? So they can remain at your
         school” I think if not.

      • Are U Serious ???!!!!!!!To Say or Release A Freedom of
        Expression Policy to Justify her actions Is MindBlowing And That
        Means your apart of the problem as well! We All have Freedoms
        but we have to be conscious and held accountable for racist slurs
        that can damage one’s reputation, character, and name! What More
        of An Investigation Do U Need! Just Like U Saw The Cops
        Kneeling on #GeorgeFloyd Neck, Racist [Jane Doe] posted a very
        derogatory statement on social media calling Black Americans
        “N[-word]s”! If u allow her to be apart of your Alma Mater Then
        that means you are a part of the problem and lack of swift action is
        complicit!

      • I feel very sorry for any minority who goes to this school. A girl
        by the name of [Jane Doe] chose to show her racist colors on social
        media and the schools response after going on a tangent about the
        coronavirus, is to ask their students to refrain from social media
        posts engaging in “name calling and hateful or racist comments.

         They’re asking their racist students to hide the fact that they are
         racist. Pathetic.

      • Hi, Wesleyan. Thank you so much for reflecting on black lives
        mattering and showing you’re with us but all of the pending nurses
        you’re currently behind are not for us and I’m requesting for
        immediate separation from the program and institution. She’s
        displayed intolerable and insufferable behavior and she’s gotta go.
        Period.3

      • I am appalled that this could be my nurse one day!          This is
        unacceptable. She is a student at Wesleyan College4
3
  This comment was made by a black female. The Bear Down Image, the First
Border Patrol Image, and information identifying Jane Doe as the female depicted
in the images accompanied this communication.
4
  This comment was made by a black female. The Bear Down Image, the First
Border Patrol Image, and information identifying Jane Doe as the female depicted
in the images accompanied this communication.
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                                                 36.

        Wesleyan also received threatening comments and comments about its racist

history:

        • Y’all gotta look into the history of Wesleyan itself. Been racist!!

        • Man Wesleyan been racist from the beginning[.] [M]an this ain’t
          the first time this has happened there.

        • [T]his is very disturbing and unacceptable period! Racism will not
          be tolerated in Macon and anywhere, anymore! This policy needs
          to be changed because we are not going away! A spotlight will be
          shined on this institution until we see change.

                                           37.

        The comments Wesleyan received also include those made by J.B. and Q.H.5

in a social media exchange they had with Wesleyan:

        J.B.:        F*** Wesleyan. Next protest needs to be there.

        Q.H.         [J.B.] telling ya

        Wesleyan: Our administration is aware of the issue. Please contact
                  us directly through DM or email.

        J.B.:        Nope. [Jane Doe] didn’t dm or email her racism.

        Q.H.         [J.B.] right she expressed it publicly so we shall do the
                     same with her racist comments.




5
    J.B. and Q.H. are black males.
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                            Wesleyan Expels Jane Doe

                                        38.

      On June 4, 2020 at 12:20 p.m., Wesleyan Dean of Students Christy Henry

(“Dean Henry”) orally notified Jane Doe by phone that Wesleyan was investigating

her because of posts Wesleyan had received from Jane Doe’s social media

accounts.

                                        39.

      On June 4, 2020, at 12:25 p.m., Dr. Fowler posted the following on

Wesleyan’s Facebook site:

      Dear Wesleyan Community:

      We are living in a strange time. Here at Wesleyan, it’s calm and
      peaceful – but it’s also void of human activity, except a few staff who
      come to work each day, rotating days with their office mates. When
      not attending essential duties, we remained sheltered in the relative
      security of our homes, hoping to avoid contact with the coronavirus.
      But all around us, in the news and on social media we are witnessing
      the daily escalation of racial tensions around the world. We are
      feeling that escalation at Wesleyan too, and we are responding quickly
      and decisively.

      First, as our Freedom of Expression policy says, we “condemn all
      instances of intolerant speech or conduct.” We will abide by our
      policies related to intimidation, bullying, and appropriate use of social
      media.

      Second, and very importantly, we urge members of the Wesleyan
      community to resist using social media to engage in name-calling and
      hateful or racist comments. We will take swift and decisive action if
      we discover that students, faculty, or staff have engaged in overtly
      racist and hate-filled behavior – up to and including suspension and
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      expulsion of students and suspension and termination of faculty and
      staff.

      We have a long way to go in our search for peace and equity – here in
      our little corner of the world and throughout the world. My prayer is
      that we, the Wesleyan community, will seek to be instruments of
      peace and will model for others an equitable community.

      Dr. Vivia L. Fowler

                                      40.

      On June 4, 2020, at 3:51 p.m. (which is less than 3½ hours after Dean Henry

orally notified Jane Doe that Wesleyan was investigating her), Dean Henry orally

notified Jane Doe by phone that she had been expelled from Wesleyan effective

immediately.

                                      41.

      On June 4, 2020, at 4:59 p.m. (before it had given Jane Doe written notice

that she had been expelled), Wesleyan published the following on its Facebook,

Twitter, and Instagram sites:

      Today Wesleyan administrators learned of racist statements and
      photos posted on a Wesleyan student’s social media. Those posts are
      abhorrent to us and a gross violation of Wesleyan’s mission and
      values. Such views have no place on our campus or within our
      community and we will act decisively when confronted by them. As
      soon as we were made aware of this information, we launched an
      investigation that led to the expulsion of the student, effective
      immediately. Wesleyan will not tolerate racist behavior in any form.




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                                        42.

      On June 4, 2020, at 6:46 p.m., Jane Doe received written notice from Dean

Henry that stated the following:

      Based on posts that we have received from your social media accounts
      that are in violation of the Wesleyan College Freedom of Expression
      Policy, Social Media Policy and Honor Code you have been expelled
      from Wesleyan College immediately.6

                                        43.

      Wesleyan did not investigate whether Jane Doe made the posts on her social

media she was accused of making. Wesleyan did not even question Jane Doe

about the matter.



6
  In addition to the “Bear Down Image” and the “First Border Patrol Image,” two
other images that were termed “Documentation of social media posts” were
enclosed with Dean Henry’s letter. One was another image of Jane Doe wearing a
Border Patrol shirt (the “Second Border Patrol Image”). Like the First Border
Patrol Image, Jane Doe transmitted the Second Border Patrol Image on social
media once in November 2017 – more than one year before she became a
Wesleyan student. The other image that was enclosed with Dean Henry’s letter is
a social media post that appears to be made by a black man named Michael Dozier.
Jane Doe shared Mr. Dozier’s post with others on social media (the “First Dozier
Image”). The “First Dozier Image” that Dean Henry gave Jane Doe as
“Documentation of social media posts” does not contain the entirety of Mr.
Dozier’s post or the entirety of the post that Jane Doe shared with other on social
media. Mr. Dozier’s post ended with the question, “Which black lives matter?”
When Jane Doe shared Mr. Dozier’s post with others on social media, she added
that same question to her post to emphasize the point it appeared Mr. Dozier was
trying to make – like the lives of other blacks, the life of a retired black police
chief who is trying to protect a store that is being looted amid chants of “black
lives matter” also matters.

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                                         44.

      Jane Doe has not made any posts on any of her social media accounts in

violation of the Wesleyan College Freedom of Expression Policy, Social Media

Policy or Honor Code. Specifically, Jane Doe never posted the Bear Down Image

on any of her social media accounts, Jane Doe posted the Border Patrol Images

(which are not in violation of the Wesleyan College Freedom of Expression Policy,

Social Media Policy or Honor Code) once on a social media account more than one

(1) year before she became a student at Wesleyan, and the Dozier Images are not in

violation of the Wesleyan College Freedom of Expression Policy, Social Media

Policy or Honor Code.

                        Wesleyan’s Contract with Jane Doe

                                         45.

      Since becoming a Wesleyan student, Jane Doe has been in a contractual

relationship with Wesleyan.

                                         46.

      While Jane Doe has been a student at Wesleyan, the Wesleyanne has been

Wesleyan’s student handbook.

                                         47.

      The terms of the contract between Jane Doe and Wesleyan include

statements provided in the Wesleyanne.


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                                        48.

      The procedures to be followed for expelling students for alleged infractions

of Wesleyan’s policies and Honor Code are set forth in the Wesleyanne and

constitute terms of the contract between Jane Doe and Wesleyan.

                                        49.

      According the Wesleyanne, except for certain specified policies and

procedures, Wesleyan’s Dean of Students is required to conduct a hearing before a

student is expelled for a violation of a Wesleyan policy or procedure.

                                        50.

      According to Dean Henry’s letter, Wesleyan expelled Jane Doe for violating

the “Freedom of Expression Policy” and the “Social Media Policy.”              The

Wesleyanne does not specify violations of the Freedom of Expression Policy or the

Social Media Policy as matters that are not to be heard by the Dean of Students

before a student is expelled.

                                        51.

      The Wesleyanne also provides that all alleged violations of the Honor Code

will be heard by the Honor Council. Further, it provides that a student who has

been accused of an Honor Code violation (a) will have the case heard by the Honor

Council without undue delay, and (b) will receive written notice of the charges and

the procedures that are to be followed before the Honor Council hearing.


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                                        52.

      Wesleyan did not comply with the procedures for expelling students for

alleged infractions of Wesleyan’s policies and Honor Code that are set forth in the

Wesleyanne and that constitute terms of the contract between Jane Doe and

Wesleyan before it expelled Jane Doe. Specifically,

      •       Wesleyan failed to have its Dean of Students conduct a hearing
              of any alleged violation of Freedom of Expression Policy, the
              Social Media Policy, or any other policy by Jane Doe before
              Jane Doe was expelled,

      •       Wesleyan failed to give Jane Doe written notice of the charges
              against her or the procedures that were to be followed before
              Wesleyan expelled her, and

      •       Wesleyan failed to have its Honor Council conduct a hearing
              regarding Jane Doe’s alleged violation of Wesleyan’s Honor
              Code before Wesleyan expelled her.

                   Jane Doe’s Appeal of the Expulsion Decision

                                        53.

      The Wesleyanne provides that a Wesleyan student who has been expelled

may appeal the expulsion decision. Dean Henry’s June 4, 2020 letter to Jane Doe

provided that Jane Doe could appeal the decision to the Student-Faculty Judicial

Board within five (5) business days of notification of the expulsion by submitting

the appeal to Dionne George who was identified in Dean Henry’s letter as

Wesleyan’s Chief Judicial Affairs Officer.


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                                       54.

      Jane Doe appealed the expulsion decision by submitting a written appeal to

Ms. George on June 10, 2020 which is three (3) business days of notification of the

expulsion.

                                       55.

      Ms. George acknowledged receipt of Jane Doe’s appeal on June 11, 2020.

When she did so, Ms. George told Jane Doe that she would be contacted by Ms.

George within the next 7-10 business days regarding hearing proceedings.

                                       56.

      Wesleyan scheduled a hearing of Jane Doe’s appeal only after Jane Doe

filed a suit against Wesleyan in the Superior Court of Bibb County on June 29,

2020 and the Court scheduled a hearing for Jane Doe’s request for an interlocutory

injunction.

                                       57.

      Jane Doe’s appeal of the expulsion decision was heard by Wesleyan’s

Student-Faculty Judicial Board on July 10, 2020.

                                       58.

      After hearing the matter, the Student-Faculty Judicial Board REVERSED

the decision to expel Jane Doe from Wesleyan.




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                  Wesleyan’s Motive and Causation

                                   59.

As demonstrated by

•       Jane Doe’s race (white),

•       the dates the images that Jane Doe allegedly posted on her
        social media were posted;

•       the content of the images that Jane Doe allegedly posted on her
        social media,

•       the changes in the racial makeup of Wesleyan’s student body,

•       Wesleyan’s 2017 promise to make amends for its racial history
        and its “sin of slavery,”

•       the racial unrest that besieged our nation at the time Wesleyan
        expelled Jane Doe,

•       Wesleyan’s commitment to battle the “scourge of racism” just
        three days before its expulsion of Jane Doe,

•       the negative, racist comments about Jane Doe Wesleyan was
        bombarded with on June 4, 2020 along with the demands that
        action be taken against Jane Doe because of her race,

•       the threatening comments Wesleyan received on June 4, 2020 if
        it did not take action against Jane Doe along with the comments
        about its racist history that Wesleyan received,

•       Wesleyan’s decision to expel Jane Doe just 3½ hours after
        Dean Henry orally notified Jane Doe that she was under
        investigation without conducting any investigation or even
        questioning Jane Doe,



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      •       Wesleyan’s failure to abide by the procedures for expelling
              students for alleged infractions of Wesleyan’s policies and
              Honor Code that are set forth in Wesleyanne and that constitute
              terms of the contract between Jane Doe and Wesleyan,

      •       Wesleyan’s publication of the libelous statement that Jane Doe
              had posted racist statements and photos on her social media,

      •       Wesleyan’s public disclosure of the private fact that Jane Doe
              had been expelled for allegedly posting racist statements and
              photos on her social media and other private facts,

      •       Jane Doe having to file suit in the Superior Court of Bibb
              County before Wesleyan would have its Student-Faculty
              Judicial Board hear Jane Doe’s appeal of the decision to expel
              her,

      •       the Student-Faculty Judicial Board’s REVERSAL of the
              decision to expel Jane Doe, and

      •        all other facts and circumstances surrounding this case,

Wesleyan, because of Jane Doe’s race, intentionally expelled Jane Doe,

intentionally failed to perform its obligations under the terms of its contract with

Jane Doe, and intentionally denied Jane Doe the enjoyment of all benefits,

privileges, terms, and conditions of her contractual relationship with Wesleyan.

                                          60.

      But for Jane Doe’s race, Wesleyan would not have expelled Jane Doe,

would have performed its obligations under the terms of its contract with Jane Doe,

and would not have denied Jane Doe the enjoyment of all benefits, privileges,

terms, and conditions of her contractual relationship with Wesleyan.

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                                Causes of Action

                              A. Breach of Contract

                                        61.

      Jane Doe adopts and incorporates herein by reference each and every

allegation made in Paragraphs 1-60 above.

                                        62.

      Wesleyan breached its contract with Jane Doe by failing to have its Dean of

Students conduct a hearing regarding Jane Doe’s alleged violation of Wesleyan’s

Freedom of Expression Policy Social Media Policy before Jane Doe was expelled.

                                        63.

      Wesleyan breached its contract with Jane Doe by not giving Jane Doe

written notice of the charges against her or the procedures that were to be followed

before Wesleyan expelled her.

                                        64.

      Wesleyan breached its contract with Jane Doe by not having its Honor

Council conduct a hearing regarding Jane Doe’s alleged violation of Wesleyan’s

Honor Code before Wesleyan expelled her.

                                        65.

      Wesleyan breached its contract with Jane Doe by expelling Jane Doe.




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                                         66.

      Jane Doe has experienced losses because of Wesleyan’s breaches of its

contract with Jane Doe described in the paragraphs 62-65 above. Jane Doe’s

losses include, but are not limited to, the amount that has been paid to have her

reputation repaired by reason of Wesleyan’s breaches of its contract and the

amount that has been paid for legal representation in having the expulsion

reversed.

                                         67.

      Jane Doe’s damages for the breaches of contract described in paragraphs 62-

65 are such as arise naturally and according to the usual course of things from such

breaches and such as the parties contemplated, when the contract was made, as the

probable result of its breach.

                                         68.

      Because of Wesleyan’s breaches of contract described in paragraphs 62-65

above, Jane Doe is entitled to recover from Wesleyan that amount that will fully

compensate her for the losses which a fulfillment of the contract would have

prevented or the breach of it entailed. Jane Doe is, so far as it is possible to do so

by a monetary award, to be placed in the position she would have been in had

Wesleyan fully performed its contract with Jane Doe.




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                        B. Violations of 42 U.S.C. § 1981

                                        69.

      Jane Doe adopts and incorporates herein by reference each and every

allegation made in Paragraphs 1-68 above.

                                        70.

      Wesleyan, because of Jane Doe’s race and in breach of its contract with Jane

Doe, intentionally failed to have its Dean of Students conduct a hearing regarding

Jane Doe’s alleged violation of Wesleyan’s Freedom of Expression Policy Social

Media Policy before Wesleyan expelled Jane Doe.

                                        71.

      But for Jane Doe’s race, Wesleyan would have had its Dean of Students

conduct a hearing regarding Jane Doe’s alleged violation of Wesleyan’s Freedom

of Expression Policy Social Media Policy before Wesleyan expelled Jane Doe.

                                        72.

      By not having its Dean of Students conduct a hearing regarding Jane Doe’s

alleged violation of Wesleyan’s Freedom of Expression Policy Social Media

Policy before Wesleyan expelled Jane Doe, Wesleyan purposefully discriminated

against Jane Doe on the basis of race with respect to the performance of its contract

with Jane Doe and Jane Doe’s enjoyment of all benefits, privileges, terms, and

conditions of her contractual relationship with Wesleyan.


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                                          73.

      Wesleyan violated 42 U.S.C. § 1981 by intentionally failing to, because of

Jane Doe’s race, have its Dean of Students conduct a hearing regarding Jane Doe’s

alleged violation of Wesleyan’s Freedom of Expression Policy and Social Media

Policy before Wesleyan expelled Jane Doe.

                                          74.

      Wesleyan, because of Jane Doe’s race and in breach of its contract with Jane

Doe, intentionally failed to give Jane Doe written notice of the charges against her

and the procedures that were to be followed before Wesleyan expelled her.

                                          75.

      But for Jane Doe’s race, Wesleyan would have given Jane Doe written

notice of the charges against her and the procedures that were to be followed

before Wesleyan expelled her.

                                          76.

      By not giving Jane Doe written notice of the charges against her and the

procedures that were to be followed before Wesleyan expelled her in breach of its

contract with Jane Doe, Wesleyan purposefully discriminated against Jane Doe on

the basis of race with respect to the performance of its contract with Jane Doe and

Jane Doe’s enjoyment of all benefits, privileges, terms, and conditions of her

contractual relationship with Wesleyan.


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                                        77.

       Wesleyan violated 42 U.S.C. § 1981 by intentionally failing, because of Jane

Doe’s race and in breach of its contract with Jane Doe, to give Jane Doe written

notice of the charges against her and the procedures that were to be followed

before Wesleyan expelled her.

                                        78.

       Wesleyan, because of Jane Doe’s race and in breach of its contract with Jane

Doe, intentionally failed to have its Honor Council conduct a hearing regarding

Jane Doe’s alleged violation of Wesleyan’s Honor Code before Wesleyan expelled

her.

                                        79.

       But for Jane Doe’s race, Wesleyan would have had its Honor Council

conduct a hearing regarding Jane Doe’s alleged violation of Wesleyan’s Honor

Code before Wesleyan expelled her.

                                        80.

       By not having its Honor Council conduct a hearing regarding Jane Doe’s

alleged violation of Wesleyan’s Honor Code before Wesleyan expelled her in

breach of its contract with Jane Doe, Wesleyan purposefully discriminated against

Jane Doe on the basis of race with respect to the performance of its contract with




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Jane Doe and Jane Doe’s enjoyment of all benefits, privileges, terms, and

conditions of her contractual relationship with Wesleyan.

                                          81.

      Wesleyan violated 42 U.S.C. § 1981 by intentionally failing, because of Jane

Doe’s race and in breach of its contract with Jane Doe, to have its Honor Council

conduct a hearing regarding Jane Doe’s alleged violation of Wesleyan’s Honor

Code before Wesleyan expelled her.

                                          82.

      Wesleyan, because of Jane Doe’s race and in breach of its contract with Jane

Doe, intentionally expelled Jane Doe.

                                          83.

      But for Jane Doe’s race, Wesleyan would not have expelled Jane Doe.

                                          84.

      By expelling Jane Doe, Wesleyan purposefully discriminated against her on

the basis of race with respect to the performance of its contract with Jane Doe and

Jane Doe’s enjoyment of all benefits, privileges, terms, and conditions of her

contractual relationship with Wesleyan.

                                          85.

      Wesleyan violated 42 U.S.C. § 1981 by intentionally expelling Jane Doe

because of Jane Doe’s race and in breach of its contract with Jane Doe.


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                                        86.

      Jane Doe has been injured and will be injured in the future by Wesleyan’s

violations of 42 U.S.C. § 1981. She has suffered monetary losses and will suffer

monetary losses in the future. She has experienced, and will experience in the

future, embarrassment, humiliation, mental anguish, and emotional distress. Also,

Jane Doe’s reputation has been permanently impaired.

                                        87.

      Jane Doe is entitled to recover damages from Wesleyan in an amount that

will fully and fairly compensate Jane Doe for her past, present, and future injuries

resulting from Wesleyan’s violations of 42 U.S.C. § 1981.

                                        88.

      Wesleyan has acted with malice or reckless indifference to the rights of Jane

Doe that are protected by 42 U.S.C. § 1981.

                                        89.

      Punitive damages should be assessed against Wesleyan to punish it for its

conduct and to deter others from engaging in similar conduct.

                   C. Attorney’s Fee Under 42 U.S.C. § 1988

                                        90.

      Jane Doe adopts and incorporates herein by reference each and every

allegation made in Paragraphs 1-89 above.


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                                         91.

      This is an action to enforce a provision of 42 U.S.C. § 1981 and Jane Doe

will be the prevailing party.

                                         92.

      Jane Doe is entitled to a reasonable attorney’s fee as part of the costs of this

action under 42 U.S.C. § 1988(b).

                                      D. Libel

                                         93.

      Jane Doe adopts and incorporates herein by reference each and every

allegation made in Paragraphs 1-92 above.

                            The June 4, 2020 Statement

                                         94.

      On June 4, 2020, Wesleyan published on its social media (Facebook,

Twitter, and Instagram) the following statement (the “June 4, 2020 Statement):

      Today Wesleyan administrators learned of racist statements and
      photos posted on a Wesleyan student’s social media. Those posts are
      abhorrent to us and a gross violation of Wesleyan’s mission and
      values. Such views have no place on our campus or within our
      community and we will act decisively when confronted by them. As
      soon as we were made aware of this information, we launched an
      investigation that led to the expulsion of the student, effective
      immediately. Wesleyan will not tolerate racist behavior in any form.




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                                        95.

       The June 4, 2020 Statement referred to an ascertained or ascertainable

person, and that person is Jane Doe. Persons who know and are acquainted with

Jane Doe understand from viewing the publication that the statement refers to Jane

Doe.

                                        96.

       Wesleyan’s publication on its social media of that part of the June 4

Statement that Jane Doe had posted racist statements and photos on her social

media was an unprivileged communication to third parties of false and defamatory

statements about Jane Doe.

                                        97.

       Wesleyan’s publication on its social media of that part of the June 4

Statement that Jane Doe had posted racist statements and photos on her social

media constitutes libel.

                                        98.

       Wesleyan’s publication on its social media of that part of the June 4

Statement that Jane Doe had posted racist statements and photos on her social

media was injurious on its face.    Special damages need not be proved because

damage is inferred.




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                                        99.

      Jane Doe has been injured, and she will suffer injuries in the future, because

of the Wesleyan’s publication on its social media of that part of the June 4

Statement that Jane Doe had posted racist statements and photos on her social

media. Jane Doe has suffered monetary losses and will suffer monetary losses in

the future. She has experienced, and will experience in the future, embarrassment,

humiliation, mental anguish, and emotional distress. Also, Jane Doe’s reputation

has been permanently impaired.

                                       100.

      Jane Doe is entitled to recover damages from Wesleyan in an amount that

will fully and fairly compensate Jane Doe for her past, present, and future injuries

resulting from Wesleyan’s publication on its social media of that part of the June 4

Statement that Jane Doe had posted racist statements and photos on her social

media.

                                       101.

      Wesleyan acted with that entire want of care that raises the presumption of

conscious indifference to the consequences when it published on its social media

of that part of the June 4 Statement that Jane Doe had posted racist statements and

photos on her social media.




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                                       102.

      Jane Doe is entitled to an award of punitive damages against Wesleyan not

as compensation to Jane Doe but solely to punish, penalize, or deter Wesleyan for

Wesleyan’s publication on its social media of that part of the June 4 Statement that

Jane Doe had posted racist statements and photos on her social media.

                          The July 28, 2020 Statement

                                       103.

      On July 21, 2020, Jane Doe requested Wesleyan to retract that part of the

June 4, 2020 Statement that Jane Doe had posted racist statements and photos on

her social media.

                                       104.

      Wesleyan did not retract the June 4, 2020 Statement. Rather, on July 28,

2020, Wesleyan published on its social media (Facebook, Twitter, and Instagram)

that it retracted its previous statement that Jane Doe had posted racist content to

her social media in early June (the “July 28, 2020 Statement”).7

      On June 4, Wesleyan issued a statement that it had expelled a student
      for allegedly posting racist content to her social media. Today we
      retract and repudiate the statement that this student posted racial
      content to her social media in early June. The student exercised her
      right to appeal the expulsion, and her appeal was carefully considered
      by our Student-Faculty Judicial Board. On July 3, the board ruled in
      the student’s favor, overturning the expulsion effective immediately.

7
 Before the July 28, 2020 Statement, Wesleyan had not published that Jane Doe
had posted racist content to her social media in early June.
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      In connection with the student’s appeal, we received new information
      showing that the student did not post the racist content in early June.
      We will ensure that she transitions seamlessly back into campus life
      when the fall semester begins. She has our full support. (Emphasis
      added).

                                          105.

      The July 28, 2020 Statement referred to an ascertained or ascertainable

person, and that person is Jane Doe. Persons who know and are acquainted with

Jane Doe understand from viewing the July 28, 2020 Statement that it refers to

Jane Doe.

                                          106.

      The July 28, 2020 Statement clearly implies that, while Jane Doe had not

posted racist content to her social media in early June, she had posted racist content

to her social media at some other time.

                                          107.

      Wesleyan’s publication on its social media of that part of the July 28, 2020

Statement that Jane Doe had posted racist content to her social media at some time

other than early June was an unprivileged communication to third parties of a false

and defamatory statement about Jane Doe.




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                                       108.

      Wesleyan’s publication of that part of the July 28, 2020 Statement that Jane

Doe had posted racist content to her social media at some time other than early

June constitutes libel.

                                       109.

      Wesleyan’s publication of that part of the July 28, 2020 Statement that Jane

Doe had posted racist content to her social media at some time other than early

June was injurious on its face.    Special damages need not be proved because

damage is inferred.

                                       110.

      Jane Doe has been injured and will be injured in the future because of

Wesleyan’s publication of that part of the July 28, 2020 Statement that Jane Doe

had posted racist content to her social media at some time other than early June.

Jane Doe has suffered monetary losses and will suffer monetary losses in the

future. She has experienced, and will experience in the future, embarrassment,

humiliation, mental anguish, emotional distress. Also, Jane Doe’s reputation has

been permanently impaired.

                                       111.

      Jane Doe is entitled to recover damages from Wesleyan in an amount that

will fully and fairly compensate Jane Doe for her past, present, and future injuries


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resulting from Wesleyan’s publication of that part of the July 28, 2020 Statement

that Jane Doe had posted racist content to her social media at some time other than

early June.

                                        112.

      Wesleyan acted with that entire want of care that raises the presumption of

conscious indifference to the consequences when it published that part of the July

28, 2020 Statement was that Jane Doe had posted racist content to her social media

at some time other than early June.

                                        113.

      Jane Doe is entitled to an award of punitive damages against Wesleyan not

as compensation to Jane Doe but solely to punish, penalize, or deter Wesleyan for

its publication of that part of the July 28, 2020 Statement that Jane Doe had posted

racist content to her social media at some time other than early June.

                                        114.

      Jane Doe requested Wesleyan to retract that part of the July 28, 2020

Statement that Jane Doe had posted racist content to her social media at some time

other than early June.




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                                       115.

      Wesleyan refused to retract that part of Wesleyan’s July 28, 2020 Statement

that Jane Doe had posted racist content to her social media at some time other than

early June.

                          The July 29, 2020 Statement

                                       116.

      On July 29, 2020, Wesleyan published on its social media (Facebook,

Twitter, and Instagram) a revision to its July 28, 2020 Statement (“the July 29,

2020 Statement”). In the July 29, 2020 Statement, Wesleyan stated that it retracted

its statement that Jane Doe had posted racist content to her social media in early

June while enrolled at Wesleyan and that Wesleyan had received new information

showing Jane Doe did not post the racist content while enrolled at Wesleyan.8

      On June 4, Wesleyan issued a statement that it had expelled a student
      for allegedly posting racist content to her social media. Today, we
      retract and repudiate the statement that this student posted racial
      content to her social media in early June while enrolled at Wesleyan.
      The student exercised her right to appeal the expulsion, and her appeal
      was carefully considered by our Student-Faculty Judicial Board. On
      July 10, the board ruled in the student’s favor, overturning the
      expulsion effective immediately. In connection with the student’s
      appeal, we received new information showing that the student did not
      post the racist content while enrolled at Wesleyan. We now have a
      responsibility to ensure she, and every Wesleyan student, transitions


8
 Again, Wesleyan had not published that Jane Doe had posted racist content to her
social media in early June while a student at Wesleyan before the July 29, 2020
Statement.
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      seamlessly back into campus life when the fall semester begins. She
      has our full support. (Emphasis added).9

                                       117.

      The July 29, 2020 Statement referred to an ascertained or ascertainable

person, and that person is Jane Doe. Persons who know and are acquainted with

Jane Doe understand from viewing the July 29, 2020 Statement that it refers to

Jane Doe.

                                       118.

      The July 29, 2020 Statement clearly implies that, while Jane Doe had not

posted racist content to her social media while enrolled at Wesleyan, she had

posted racist content to her social media while not enrolled at Wesleyan.

                                       119.

      Wesleyan’s publication on its social media of that part of the July 29, 2020

Statement that Jane Doe had posted racist content to her social media while not

enrolled at Wesleyan was an unprivileged communication to third parties of a false

and defamatory statement about Jane Doe.




9
  The additions that Wesleyan made to Wesleyan’s July 28, 2020 Statement are in
italics.

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                                       120.

       Wesleyan’s publication of that part of the July 29, 2020 Statement that Jane

Doe had posted racist content to her social media while not enrolled at Wesleyan

constitutes libel.

                                       121.

       Wesleyan’s publication of that part of the July 29, 2020 Statement that Jane

Doe had posted racist content to her social media while not enrolled at Wesleyan

was injurious on its face. Special damages need not be proved because damage is

inferred.

                                       122.

       Jane Doe has been injured and will be injured in the future because of the

Wesleyan’s publication of that part of the July 29, 2020 Statement that Jane Doe

had posted racist content to her social media while not enrolled at Wesleyan. Jane

Doe has suffered monetary losses and will suffer monetary losses in the future.

She has experienced, and will experience in the future, embarrassment,

humiliation, mental anguish, and emotional distress. Also, Jane Doe’s reputation

has been permanently impaired.

                                       123.

       Jane Doe is entitled to recover damages from Wesleyan in an amount that

will fully and fairly compensate Jane Doe for her past, present, and future injuries


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resulting from Wesleyan’s publication of that part of the July 29, 2020 Statement

that Jane Doe had posted racist content to her social media while not enrolled at

Wesleyan.

                                        124.

      Wesleyan acted with that entire want of care that raises the presumption of

conscious indifference to the consequences when it published that part of the July

29, 2020 Statement that Jane Doe had posted racist content to her social media

while not enrolled at Wesleyan.

                                        125.

      Jane Doe is entitled to an award of punitive damages against Wesleyan not

as compensation to Jane Doe but solely to punish, penalize, or deter Wesleyan for

its publication of that part of the July 29, 2020 Statement that Jane Doe had posted

racist content to her social media while not enrolled at Wesleyan.

                                        126.

      Jane Doe requested Wesleyan to retract that part of the July 29, 2020

Statement that Jane Doe had posted racist content to her social media while not

enrolled at Wesleyan.

                                        127.

      Wesleyan refused to retract that that part of the July 29, 2020 Statement that

Jane Doe had posted racist statements while not enrolled at Wesleyan.


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             Invasion of Privacy – Placing Jane Doe in a False Light

                                         128.

       Jane Doe adopts and incorporates herein by reference each and every

allegation made in Paragraphs 1-127 above.

                                         129.

       Wesleyan has published matters about Plaintiff that have placed her in a

false light, Specifically,

       (a)    On June 4, 2020 Wesleyan published on its social media (Facebook,

Twitter, and Instagram) that

              •      Jane Doe had posted racist statements and photos on her social
                     media,

              •      Jane Doe had posted statements on her social media that were
                     abhorrent to Wesleyan’s mission and values, and

              •      Jane Doe had posted statements on her social media that have
                     no place on Wesleyan’s campus or within it community.

       (b)    On July 28, 2020, Wesleyan published on its social media (Facebook,

Twitter, and Instagram) that

              •      while Jane Doe had not posted racist content to her social media
                     in early June, she had posted racist content to her social media
                     at some other time, and

              •      Wesleyan’s Student-Faculty Judicial Board ruled in Jane Doe’s
                     favor and overturned Jane Doe’s expulsion because Wesleyan
                     had received new information showing that Jane Doe did not
                     post the racist content in early June.

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       (c)      On July 29, 2020, Wesleyan published on its social media (Facebook,

Twitter, and Instagram) that

                •     while Jane Doe had not posted racist content to her social media
                      while enrolled at Wesleyan, she had posted racist content to her
                      social media while not enrolled at Wesleyan, and

                •     Wesleyan’s Student-Faculty Judicial Board ruled in Jane Doe’s
                      favor and overturned Jane Doe’s expulsion because Wesleyan
                      had received new information showing that Jane Doe did not
                      post the racist content in early June.

                                          130.

       Each matter published by Wesleyan that is described in paragraph 129 above

is false.

                                          131.

       Jane Doe has been injured and will be injured in the future because

Wesleyan has placed her in a false light by its June 4, 2020, July 28, 2020, and July

29, 2020 publication of the falsehoods about Jane Doe described in paragraph 129

above. Jane Doe has suffered monetary losses and will suffer monetary losses in

the future. She has experienced, and will experience in the future, embarrassment,

humiliation, mental anguish, and emotional distress. Also, Jane Doe’s reputation

has been permanently impaired.




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                                        132.

      Jane Doe is entitled to recover damages from Wesleyan in an amount that

will fully and fairly compensate Jane Doe for her past, present, and future injuries

resulting from Wesleyan placing Jane Doe in a false light by its June 4, 2020, July

28, 2020, and July 29, 2020 publication of falsehoods described in paragraph 129

above.

                                        133.

      Wesleyan’s conduct in placing Jane Doe in a false light by its June 4, 2020,

July 28, 2020, and July 29, 2020 publication of falsehoods described in paragraph

129 above shows that entire want of care which raises the presumption of

conscious indifference to consequences on the part of Wesleyan.

                                        134.

      Jane Doe is entitled to an award of punitive damages against Wesleyan not

as compensation to Jane Doe but solely to punish, penalize, or deter Wesleyan for

its placing Jane Doe in a false light by its June 4, 2020, July 28, 2020, and July 29,

2020 publication of falsehoods described in paragraph 129 above.

     F. Invasion of Privacy – Disclosure of Private Facts About Jane Doe

                                        135.

      Jane Doe adopts and incorporates herein by reference each and every

allegation made in Paragraphs 1-134 above.


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                                       136.

      Jane Doe has the right to be free from the publication of her private affairs

with which the public has no legitimate concern.

                                       137.

      As part of the June 4, 2020 Statement, Wesleyan published the following

matter on its social media (Facebook, Twitter, and Instagram):

      As soon as we were made aware of this information, we launched an
      investigation that led to the expulsion of the student, effective
      immediately.

                                       138.

      As part of the July 28, 2020 Statement, Wesleyan published the following

matter on its social media (Facebook, Twitter, and Instagram):

      The student exercised her right to appeal the expulsion, and her appeal
      was carefully considered by our Student-Faculty Judicial Board. On
      July 3, the board ruled in the student’s favor, overturning the
      expulsion effective immediately.

                                       139.

      As part of the July 29, 2020 Statement, Wesleyan published the following

matter on its social media (Facebook, Twitter, and Instagram):

      The student exercised her right to appeal the expulsion, and her appeal
      was carefully considered by our Student-Faculty Judicial Board. On
      July 10, the board ruled in the student’s favor, overturning the
      expulsion effective immediately.




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                                       140.

      The June 4, 2020 Statement, the July 28, 2020 Statement, and the July 29,

2020 Statement referred to an ascertained or ascertainable person, and that person

was Jane Doe. Persons who knew and were acquainted with Jane Doe understood

from viewing the publications that the Statements referred to Jane Doe.

                                       141.

      Wesleyan’s disclosures that Jane Doe had been expelled from Wesleyan,

that Jane Doe exercised her right to appeal the expulsion, that Jane Doe’s appeal

was considered by Wesleyan’s Student-Faculty Judicial Board, that the Board

ruled in Jane Doe’s favor, and that Jane Doe’s expulsion was overturned were

public disclosures of Jane Doe’s private affairs with which the public has no

legitimate concern.

                                       142.

      The disclosure of the fact that Jane Doe had been expelled from Wesleyan,

that Jane Doe had exercised her right to appeal the expulsion, that her appeal was

considered by Wesleyan’s Student-Faculty Judicial Board, that the Board ruled in

Jane Doe’s favor, and that Jane Doe’s expulsion was overturned would be

offensive and objectionable to a reasonable person of ordinary sensibilities under

the circumstances.




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                                       143.

      Damages are not an element of a claim for an invasion of privacy by

disclosure of a private matter. Damages are presumed to flow from the tortious

act, and Jane Doe may be awarded damages without proof of any specific amount.

                                       144.

      Even so, Jane Doe has been injured and will be injured in the future because

Wesleyan invaded Jane Doe’s privacy by publicly disclosing that Jane Doe had

been expelled from Wesleyan, that Jane Doe had exercised her right to appeal the

expulsion, that her appeal was considered by Wesleyan’s Student-Faculty Judicial

Board, that the Board ruled in Jane Doe’s favor, and that Jane Doe’s expulsion was

overturned. Jane Doe has suffered monetary losses and will be injured in the

future. She has experienced embarrassment, humiliation, mental anguish, and

emotional distress. Also, Jane Doe’s reputation has been permanently impaired.

                                       145.

      Jane Doe is entitled to recover damages from Wesleyan in an amount that

will fully and fairly compensate Jane Doe for her past, present, and future injuries

resulting from Wesleyan invasion of Jane Doe’s privacy by publicly disclosing that

Jane Doe had been expelled from Wesleyan, that Jane Doe had exercised her right

to appeal the expulsion, that her appeal was considered by Wesleyan’s Student-




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Faculty Judicial Board, that the Board ruled in Jane Doe’s favor, and that Jane

Doe’s expulsion was overturned.

                                      146.

      Wesleyan’s conduct in invading Jane Doe’s privacy by publicly disclosing

that Jane Doe had been expelled from Wesleyan, that Jane Doe had exercised her

right to appeal the expulsion, that her appeal was considered by Wesleyan’s

Student-Faculty Judicial Board, that the Board ruled in Jane Doe’s favor, and that

Jane Doe’s expulsion was overturned showed that entire want of care which raises

the presumption of conscious indifference to consequences on the part of

Wesleyan.

                                      147.

      Jane Doe is entitled to an award of punitive damages against Wesleyan for

invading Jane Doe’s privacy by publicly disclosing that Jane Doe had been

expelled from Wesleyan, that Jane Doe had exercised her right to appeal the

expulsion, that her appeal was considered by Wesleyan’s Student-Faculty Judicial

Board, that the Board ruled in Jane Doe’s favor, and that Jane Doe’s expulsion was

overturned.     Jane Doe is entitled to an award of punitive damages against

Wesleyan not as compensation to Jane Doe but solely to punish, penalize, or deter

Wesleyan.




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                              Expenses of Litigation

                                         148.

      Jane Doe adopts and incorporates herein by reference each and every

allegation made in Paragraphs 1-147 above.

                                         149.

      Wesleyan has acted in bad faith.

                                         150.

      Wesleyan has been stubbornly litigious.

                                         151.

      Wesleyan has caused Jane Doe unnecessary trouble and expense.

                                         152.

      Jane Doe’s expenses of litigation, including attorneys’ fees, should be

allowed as part of the damages.

                              Demand for Jury Trial

      Jane Doe demands a trial by jury as to all issues so triable.

                                  Prayer for Relief

      WHEREFORE Plaintiff Jane Doe prays for the following relief against

Defendant Wesleyan College:

      (a) The issuance and service of process as to Defendant Wesleyan College,




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(b) The entry of a Judgment in favor of Plaintiff Jane Doe and against

   Defendant Wesleyan College in an amount that will

      i. so far as it is possible to do so by a monetary award, place Jane
         Doe in the position she would have been had Wesleyan fully
         performed its contract with Jane Doe,

      ii. fully and fairly compensate Jane Doe for the injuries she has and
          will sustain because of Wesleyan’s violations of 42 U.S.C. § 1981,

      iii. punish Wesleyan for acting with malice or reckless indifference to
           the rights of Jane Doe that are protected by 42 U.S.C. § 1981 and
           deter others from engaging in similar conduct,

      iv. fully and fairly compensate Jane Doe for the injuries she has and
          will sustained because of Wesleyan’s (A) publication of libelous
          statements about Jane Doe, (B) invasion of Jane Doe’s privacy by
          placing her in a false light, (C) invasion of Jane Doe’s privacy by
          disclosing private facts about Jane Doe,

      v. punish, penalize, or deter Wesleyan for acting with conscious
         indifference to the consequences when it (A) published the libelous
         statements about Jane Doe, (B) invaded Jane Doe’s privacy by
         placing her in a false light, and (C) invaded Jane Doe’s privacy by
         disclosing private facts about Jane Doe; and

      vi. fully and fairly compensate Jane Doe for her expenses of litigation,
          including attorneys’ fees,

(c) Taxation of costs against Defendant Wesleyan College including a

   reasonable attorney’s fee that includes expert fees in accordance with 42

   U.S.C. § 1981,

(d) Interest at the lawful rate, and

(e) Such other relief that this Honorable Court deems just and proper.


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     Date: January 22, 2020.

                                               /s/Jerry A. Lumley
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